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     SO. CAL. EQUAL ACCESS GROUP
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     Attorneys for Plaintiff
 6   LARRY DUNN
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10   LARRY DUNN,                                         Case No.: 2:24-cv-04292-FLA (PDx)
11
                  Plaintiff,                             NOTICE OF VOLUNTARY
12                                                       DISMISSAL OF ENTIRE ACTION
           vs.                                           WITH PREJUDICE
13
14   ALL CITY PARKING MANAGEMENT,
     INC; 8850 SUNSET, LLC; and DOES 1 to
15   10,
16                Defendants.
17
18
19         PLEASE TAKE NOTICE that Plaintiff LARRY DUNN (“Plaintiff”) pursuant to
20   Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
21   action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22   provides in relevant part:
23         (a) Voluntary Dismissal.
24                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                       and any applicable federal statute, the plaintiff may dismiss an action
26                       without a court order by filing:
27                       (i)      A notice of dismissal before the opposing party serves either an
28                                answer or a motion for summary judgment.

                                                     1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: August 30, 2024                SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
 9                                               Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
